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      Defendant Zurich American Insurance
    6 Company of Illinois
    7
    8                                UNITED STATES DISTRICT COURT
    9               CENTRAL DISTRICT OF CALIFORNIA – WEST DIVISION
   10
   11   ZURICH AMERICAN INSURANCE                     Case No. 2:17-cv-4864-CAS-KS
        COMPANY OF ILLINOIS,
   12                                                 ZURICH’S OPPOSITION TO EX
                       Plaintiff,                     PARTE APPLICATION FOR LEAVE
   13                                                 TO AMEND COUNTERCLAIM AND
              v.                                      CONTINUE TRIAL DATE
   14
        FIRST RATE STAFFING CORPORATION
   15   and DOES 1 to 100, inclusive,                 Judge: Hon. Christina A. Snyder
                                                      Ctrm: 8D
   16                  Defendants.

   17                                                 Trial:     August 7, 2018
                                                      Complaint: July 1, 2017.
   18
   19         I, Lincoln V. Horton, declare as follows:
   20         1. I am an attor ney licensed to pr actice in the State of Califor nia and
   21   admitted to appear befor e the United States Distr ict Cour t, Centr al Distr ict of
   22   Califor nia. I am the pr incipal at my fir m, and the handling attor ney for Plaintiff
   23   and Counter -Defendant ZURICH AMERICAN INSURANCE COMPANY OF
   24   ILLINOIS (“Zur ich”) in this matter . The contents of this declar ation ar e my
   25   per sonal knowledge, and if asked to testify ther eto, I could and would do so
   26   competently.
   27         2. This breach of contract matter arises from the failure by Defendant FIRST
   28   RATE STAFFING CORPORATION (“First Rate”) to pay an additional premium (after a

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    1   much-delayed policy-required payroll audit) of 1.2 million dollars to Zurich for its 2014-
    2   2015 workers’ compensation insurance policy.
    3           3. The payroll audit is required by the insurance agreement to occur shortly after
    4   the conclusion of the policy (May 2015), but First Rate did not agree to submit to the
    5   audit until February 2017, when a prior U.S. District Court lawsuit filed by Zurich
    6   against First Rate (2:16-cv-3779-DMG-JPR) was close to trial. After First Rate finally
    7   agreed to the audit, and it was conducted (resulting in the additional 1.2 million dollars
    8   premium), the first action was dismissed without prejudice because the judge in that
    9   matter rejected a prior stipulation to extend dates submitted by the parties, and said that
   10   she would not continue dates in the matter, further. It was deemed easier just to re-file a
   11   new action, including the new audit amount.
   12           4. The instant action was filed on July 1, 2018 after First Rate would not pay the
   13   1.2 million dollars owed as a result of the payroll audit.
   14           5. First Rate’s initial answer was filed (after stipulated extension) on August 31,
   15   2017.
   16           6. First Rate’s amended answer and counterclaim was filed September 21, 2017.
   17           7. The Court’s Scheduling Order was issued on October 30, 2017. The
   18   Scheduling Order set deadlines for the parties to seek leave to amend the pleadings and
   19   add new parties on February 16, 2018, the expert report exchange on February 16, 2018,
   20   and percipient and expert discovery cut-offs on April 30, 2018.
   21           8. Pursuant to First Rate’s request, the parties stipulated to continue the expert
   22   report exchange deadline to April 16, 2018 and the expert discovery cut-off to May 30,
   23   2018, which the Court ordered on January 26, 2018. In making its proposal, First Rate
   24   pitched the requested extension as a means to devote the majority of its resources to
   25   trying to reach a good faith resolution at a Mandatory Settlement Conference. However,
   26   both sides agreed to conduct party depositions prior to the M.S.C.
   27           9. The magistrate had available dates in February and March for the M.S.C. First
   28   Rate’s counsel said that he was not available for some of the available February and
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    1   March dates, Zurich was not available for other dates. In January, the MSC date of
    2   March 20, 2018 was selected.
    3          10. Zurich responded timely and without extension to First Rate’s written
    4   discovery. In fact, as to First Rate’s Rule 34 request for production served with a Rule
    5   30(b)(6) deposition notice served by mail on January 31, 2018, in order to assist First
    6   Rate’s deposition preparation, Zurich provided the documents on March 1, 2018, four
    7   days before the (Monday) March 5, 2018 deadline for production per code. Zurich
    8   produced all of its witnesses, and even made arrangements so that telephonic depositions
    9   could be taken of out-of-state Zurich witnesses.
   10          11. A Mandatory Settlement Conference occurred on March 20, 2018, and despite
   11   First Rate’s representations before the extension of deadlines was agreed upon that it
   12   would participate in good faith to try to resolve the matter, was a complete waste of time,
   13   with First Rate not offering any money to resolve the matter, and instead offering only a
   14   mutual walk-away.
   15          12. This ex parte was noticed by First Rate on April 3, 2018 at 4:41 p.m. to occur
   16   on April 4, 2018. I contacted First Rate’s counsel to try to get the ex parte paperwork
   17   twice on April 4, 2018, informing counsel that I needed it to respond before a family
   18   vacation in Maui that I was leaving for on Friday. I contacted First Rate’s counsel again
   19   on April 5, 2018 about the still not served ex parte paperwork. The ex parte paperwork
   20   was not served until 5:48 p.m. on Friday, April 6, 2018.
   21          13. If the court grants leave to amend, Zurich will need a short continuance (2
   22   months) of all dates in this matter to investigate defenses to the new claims and obtain
   23   expert input. As part of its investigation, Zurich will need leave from the Court to retake
   24   the depositions of First Rate’s CEO Cliff Blake and President Devon Galpin regarding
   25   the new claims and any related claimed damages. Such additional time and investigation
   26   would be necessary to avoid prejudice to Zurich, given that the current Scheduling Order
   27   deadlines do not provide any time to conduct investigation of the new claims.
   28   ///
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    1         I declar e under penalty of per jur y pur suant to the laws of the United States of
    2   Amer ica that the for egoing is tr ue and cor r ect to the best of my knowledge.
    3
    4   DATED: April 9, 2018                        HORTON VILLAGE LAW GROUP, APC
    5
    6
                                                    By: /s/ LVH ___________________________
    7                                                    LINCOLN V. HORTON
                                                         Attorneys for Plaintiff and Counter-
    8                                                    Defendant ZURICH AMERICAN
                                                         INSURANCE COMPANY OF
    9                                                    ILLINOIS
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